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                  EXHIBIT A
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 PAMELA W. BUNN                 6460
 DENTONS US LLP
 1001 Bishop Street, Suite 1800
 Honolulu, Hawai‘i 96813
 Telephone: (808) 524-1800
 Facsimile: (808) 524-4591
 E-mail: pam.bunn@dentons.com

 Attorney for Amicus Curiae
 EVERYTOWN FOR GUN SAFETY

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI‘I

 TODD YUKUTAKE and DAVID                 Civil No. CV19-00578-JMS-RT
 KIKUKAWA,
                                         BRIEF OF EVERYTOWN FOR
                 Plaintiffs,             GUN SAFETY AS AMICUS
       v.                                CURIAE; APPENDIX

 CLARE E. CONNORS, in her official       Summary Judgment Motion Hearing:
 capacity as the Attorney General of     June 28, 2021, at 10:00 a.m.
 the State of Hawaii, and the CITY and   Chief Judge J. Michael Seabright
 COUNTY OF HONOLULU,
                                         Trial Date: February 23, 2022
                 Defendants.
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      BRIEF OF EVERYTOWN FOR GUN SAFETY AS AMICUS CURIAE

 I.    INTEREST OF AMICUS CURIAE
       Amicus curiae Everytown for Gun Safety (formally, Everytown for Gun

 Safety Action Fund; hereafter, “Everytown”) is the nation’s largest gun-violence-

 prevention organization, with nearly six million supporters across the country,

 including thousands in Hawai‘i. Everytown was founded in 2014 as the combined

 efforts of Mayors Against Illegal Guns, a national, bipartisan coalition of mayors

 combating illegal guns and gun trafficking, and Moms Demand Action for Gun

 Sense in America, an organization formed after the murder of twenty children and

 six adults in an elementary school in Newtown, Conn. Everytown also includes the

 Everytown Survivor Network, a nationwide community of survivors working

 together to end gun violence.

       Everytown’s mission includes defending gun safety laws through the filing

 of amicus briefs providing historical context, social science and public policy

 research, and doctrinal analysis that might otherwise be overlooked. Everytown

 has filed such briefs in numerous Second Amendment cases, including a prior brief

 in this case. See Dkt. 64, 67; see also, e.g., Teter v. Connors, No. 1:19-cv-00183

 (D. Haw.), Dkt. 47; Roberts v. Suzuki, No. 1:18-cv-00125 (D. Haw.), Dkt. 62-1;

 Young v. Hawaii, No. 12-17808 (9th Cir.); Silvester v. Harris, No. 14-16840 (9th

 Cir.). Several courts, including in this District, have expressly relied on


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 Everytown’s amicus briefs in deciding Second Amendment and other gun cases.

 See Teter v. Connors, 460 F. Supp. 3d 989, 1002-03 (D. Haw. 2020), appeal

 docketed, No. 20-15948 (9th Cir. May 19, 2020); Ass’n of N.J. Rifle & Pistol

 Clubs, Inc. v. Att’y Gen. N.J., 910 F.3d 106, 112 n.8 (3d Cir. 2018); Rupp v.

 Becerra, 401 F. Supp. 3d 978, 991-92 & n.11 (C.D. Cal. 2019), appeal docketed,

 No. 19-56004 (9th Cir. Aug. 28, 2019); see also Rehaif v. United States, 139 S. Ct.

 2191, 2210-11 nn.4 & 7 (2019) (Alito, J., dissenting).

 II.   INTRODUCTION
       Hawai‘i protects its citizens from gun violence through permit-to-acquire

 and registration laws for handguns. Plaintiffs allege that these laws violate the

 Second Amendment. As the State explains in its brief, however, the permitting

 scheme and registration laws do not regulate constitutionally-protected conduct

 and, in any event, survive the applicable standard of scrutiny. See Defendant’s

 Counter-Motion for Summary Judgment and Opposition to Plaintiffs’ Motion for

 Summary Judgment, Dkt. 91-1, at 11-25 (“State Br.”).

       Everytown submits this amicus brief in support of the State to address two

 points. First, this brief addresses two preliminary errors in plaintiffs’ account of the

 historical inquiry courts undertake in Second Amendment cases in the wake of

 District of Columbia v. Heller, 554 U.S. 570 (2008). Second, it demonstrates that

 there is a long history of regulation supporting Hawai‘i’s in-person inspection


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 requirement stretching all the way back to the founding era. Militia laws in the

 earliest days of the United States required members to equip themselves with

 specific firearms and ammunition and to present their weapons for inspection on a

 regular basis. In light of these laws, ordinary citizens in the founding era would

 have considered in-person inspection requirements to be well within the

 government’s powers—and thus, under Heller, such requirements fall outside the

 scope of the Second Amendment. Plaintiffs’ challenge to H.R.S. § 134-3 on this

 basis should therefore fail.

 III.   UNDER HELLER AND NINTH CIRCUIT PRECEDENT, GUN
        REGULATIONS WITH A LONGSTANDING HISTORICAL
        PEDIGREE ARE CONSTITUTIONAL
        In Heller, the Supreme Court held that the Second Amendment protects an

 individual right to bear arms. It emphasized, however, that the right “is not

 unlimited,” and that “nothing in [its] opinion should be taken to cast doubt on

 longstanding prohibitions on the possession of firearms.” Id. at 626. Those

 longstanding prohibitions include “laws imposing conditions and qualifications on

 the commercial sale of arms,” which are “presumptively lawful regulatory

 measures.” Id. at 626-27 n.26.

        In the wake of Heller, courts in the Ninth Circuit—and, indeed, in every

 circuit to have addressed the issue—apply a two-step analysis to Second




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 Amendment claims.1 The first step is to ask “whether the challenged law burdens

 conduct protected by the Second Amendment.” Chovan, 735 F.3d at 1136. Courts

 examine “whether there is persuasive historical evidence showing that the

 regulation does not impinge on the Second Amendment right as it was historically

 understood.” Silvester v. Harris, 843 F.3d 816, 821 (9th Cir. 2016); see also Young

 v. Hawaii, 992 F.3d 765, 784-85 (9th Cir. 2021) (en banc) (critiquing other circuits

 for not undertaking a “systematic review of the historical right”). Where such

 evidence exists, the law should be upheld “‘without further analysis’”—in other

 words, without proceeding to the second step of the inquiry—because it falls

 outside the Second Amendment’s scope. Young, 992 F.3d at 783 (citation omitted);

 see also Peruta v. County of San Diego, 824 F.3d 919, 942 (9th Cir. 2016) (en

 banc) (upholding concealed-carry restrictions based on historical analysis alone).

       In arguing that their challenge survives step one of the two-step framework,

 plaintiffs make two preliminary arguments.2 First, they argue that the only question




       1
         See, e.g., United States v. Chovan, 735 F.3d 1127, 1136-37 (9th Cir. 2013);
 Kolbe v. Hogan, 849 F.3d 114, 132-33 (4th Cir. 2017) (en banc) (collecting
 decisions of Second, Third, Fifth, Sixth, Seventh, Tenth, Eleventh, and D.C.
 Circuits); Gould v. Morgan, 907 F.3d 659, 669 (1st Cir. 2018).
       2
         In addition, in a prior filing, see Plaintiffs’ Response to Defendant’s
 Motion for Summary Judgment, Dkt. 70-1 (“Pl. Resp.”), plaintiffs purported to
 address the founding-era history of in-person inspection requirements that
 Everytown previously presented to this Court. Part IV.A sets out that history again
 and Part IV.B addresses plaintiffs’ effort to rebut it.

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 is whether the challenged law itself is longstanding. See Memorandum in Support

 of Plaintiffs’ Motion for Summary Judgment, Dkt. 85-1, at 4-5 (“Pl. Br.”). Second,

 they claim that 20th century laws cannot be longstanding. See id. at 5-7. Both of

 these arguments are mistaken.

       A.     Laws Are Constitutional at Step One if They Are Themselves
              Longstanding or if They Are Part of a Longstanding Regulatory
              Tradition
       Plaintiffs argue that the in-person inspection requirement of H.R.S. § 134-3

 is “less than a year old” and that the ten-day expiration period is of “twentieth-

 century vintage,” and, on those bases, that neither is “longstanding.” See Dkt 85-1

 at 4-7. This misunderstands the inquiry. For purposes of Heller’s exceptions, it is

 sufficient if a law itself is longstanding, but it is not necessary; the law also falls

 outside the scope of the Second Amendment if it is part of a longstanding

 regulatory tradition. The D.C. Circuit addressed exactly this issue in United States

 v. Class, 930 F.3d 460 (D.C. Cir. 2019), in which a criminal defendant challenged

 a 1980 prohibition on firearms in a parking lot near the Capitol. The court rejected

 the defendant’s argument that the precise prohibition challenged had to be

 “longstanding” to fall into Heller’s exceptions. Instead, “[t]he relevant inquiry is

 whether a particular type of regulation has been a ‘longstanding’ exception to the

 right to bear arms.” Id. at 465.




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       A modern law also does not have to match precisely a historical regulatory

 tradition for the modern law to fall outside the Second Amendment’s scope. See,

 e.g., Fyock v. City of Sunnyvale, 779 F.3d 991, 997 (9th Cir. 2015) (“Heller

 demonstrates that a regulation can be deemed ‘longstanding’ even if it cannot boast

 a precise founding-era analogue.” (quoting National Rifle Ass’n v. Bureau of

 Alcohol, Tobacco, Firearms, and Explosives, 700 F.3d 185, 196 (5th Cir. 2012)));

 United States v. Skoien, 614 F.3d 638, 641 (7th Cir. 2010) (en banc) (“exclusions”

 from the scope of the right “need not mirror limits that were on the books in

 1791”). The U.S. Solicitor General recently explained that the Supreme Court “has

 never held … that modern firearms regulations can be constitutional only if they

 mirror colonial regulations. … It is enough if the modern law is ‘fairly supported’

 by tradition.” Br. in Opp. to Pet. for a Writ of Cert. 9-10, McGinnis v. United

 States, No. 20-6046 (Jan. 15, 2021) (citations omitted), cert. denied (Feb. 22,

 2021). More generally, “lower courts have used analogy to extend Heller’s

 exclusions beyond those specifically identified in the case.” Joseph Blocher &

 Darrell A.H. Miller, The Positive Second Amendment 136 (2018); see, e.g.,

 Kachalsky v. County of Westchester, 701 F.3d 81, 91 (2d Cir. 2012) (upholding

 law regulating public carry of firearms, which has “a number of close and

 longstanding cousins”); cf. Long v. SEPTA, 903 F.3d 312, 321, 324 (3d Cir. 2018)

 (in Article III standing context, where Supreme Court test requires that an


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 intangible harm have “‘a close relationship’ to one that historically has provided a

 basis for a lawsuit,” emphasizing that “[a] perfect common-law analog is not

 required” (citation omitted)).3

       B.     Early 20th Century Laws Are “Longstanding”
       Plaintiffs are also mistaken in claiming that, simply because the ten-day

 expiration period originated in the early 20th century, it cannot be “longstanding.”

 See Pl. Br. 85-1 at 4-7. To the contrary, it was not until the late 19th and early 20th

 centuries that “the administrative state had developed sufficiently to make

 regulations such as licensing, registration, and background checks realistic to

 implement.”4 In Heller, the Supreme Court made clear that “longstanding

 prohibitions on the possession of firearms by felons and the mentally ill” were

 constitutional, see 554 U.S. at 626-27, even though “the current version of these

 bans are of mid-20th century vintage,” National Rifle Ass’n, 700 F.3d at 196; see




       3
         Even the small number of dissenting jurists who would prefer to interpret
 the Second Amendment to bar any firearm regulation not grounded in “text,
 history, and tradition”—a view contrary to the two-part Second Amendment
 framework that is the law of the Ninth Circuit and every other circuit that has
 weighed in—acknowledge that “the proper interpretive approach” to the historical
 inquiry involves “reason[ing] by analogy from history and tradition.” See, e.g.,
 Heller v. District of Columbia, 670 F.3d 1244, 1275 (2011) (“Heller II”)
 (Kavanaugh, J., dissenting) (emphasis added).
       4
         Mark Frassetto, Judging History: How Judicial Discretion in Applying
 Originalist Methodology Affects the Outcome of Post-Heller Second Amendment
 Cases, 29 Wm. & Mary Bill Rts. J. 413, 427 (2020).

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 also, e.g., Skoien, 614 F.3d at 640-41 (noting that the “presumptively

 constitutional” extension of prohibitions to non-violent felons did not occur until

 the 1960s, and “legal limits on the possession of firearms by the mentally ill also

 are of 20th Century vintage”); Heller II, 670 F.3d at 1253 (“The Court in Heller

 considered ‘prohibitions on the possession of firearms by felons’ to be

 ‘longstanding’ although states did not start to enact them until the early 20th

 century.”). Following Heller, the Ninth Circuit and other courts of appeals have

 concluded or noted that 20th century laws may themselves be longstanding and

 presumptively constitutional, or may establish a longstanding history of regulation

 such that the regulated activity falls outside the scope of the Second Amendment.

 See, e.g., Fyock, 779 F.3d at 996 (noting that “early twentieth century regulations

 might … demonstrate a history of longstanding regulation if their historical

 prevalence and significance is properly developed in the record”); Silvester, 843

 F.3d at 831 (Thomas, C.J., concurring) (“[W]aiting periods—which first appeared

 on the books in California in 1923—constitute a sufficiently longstanding

 condition or qualification on the commercial sale of arms to be considered

 presumptively lawful.”); Pena v. Lindley, 898 F.3d 969, 1003 (9th Cir. 2018)

 (Bybee, J., concurring in part and dissenting in part) (observing that early 20th

 century laws can be longstanding); Heller II, 670 F.3d at 1253-55 (concluding that

 “basic registration of handguns is deeply enough rooted in our history to support


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 the presumption that a registration requirement is constitutional” under Heller, in

 light of registration laws from the 1910s and 1920s); Drake v. Filko, 724 F.3d 426,

 433-34 (3d Cir. 2013) (concluding that New Jersey’s 1924 law permitting public

 concealed carry only for those who can show “justifiable need” is “a longstanding

 regulation that enjoys presumptive constitutionality,” including in light of New

 York’s similar 1913 law).5

                                     *      *      *

       In light of these principles, and as the State explains, the ten-day expiration

 period in Hawai‘i’s permitting requirement is constitutional at the first step of the

 two-step framework. See State Br. 12-13 (Hawaii’s law is itself longstanding and is

 also part of a longstanding regulatory tradition in light of analogous early 20th

 century laws from other states). With respect to Hawai‘i’s in-person inspection

 requirement, these principles are not even necessary. As the following section

 explains, there is abundant, persuasive founding-era evidence showing that in-


       5
          Plaintiffs attempt to diminish Fyock by arguing that its dictum endorsing
 20th century pedigree is in tension with Chovan and Young. See Pl. Br. 5-7. In
 Chovan, however, the Court simply noted that it was “not clear[]” that a 1938 law
 was longstanding before announcing that the “more important[]” point was that
 prohibitions on domestic violence misdemeanants were not enacted until 1996.
 Chovan, 735 F.3d at 1137. In Young, the court did not “clarif[y]” that “in th[e
 Ninth] Circuit, twentieth century laws are not reviewed ‘in detail,’” as the plaintiffs
 assert (Pl. Br. 6); instead, it expressed a lack of “inclin[ation]” to review twentieth-
 century developments in that case, after its exhaustive survey of earlier historical
 materials had already revealed a robust tradition of regulating the carrying of arms
 in public. See Young, 992 F.3d at 787-811.

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 person inspection does not impinge on the Second Amendment right as it was

 historically understood. In light of this evidence, this Court should reject plaintiffs’

 challenge to the inspection requirement at the first step of the Second Amendment

 analysis.6

 IV.   THE LONGSTANDING HISTORICAL PEDIGREE OF IN-PERSON
       INSPECTION REQUIREMENTS ESTABLISHES THE
       CONSTITUTIONALITY OF H.R.S. § 134-3

       A.     Laws Imposing Stringent In-Person Gun Inspection
              Requirements Were Widespread in 1791
       Around the time of the Second Amendment’s ratification in 1791, and in the

 decades preceding, laws requiring inspection of personal weapons existed at the

 federal level and throughout the original states. These laws were part of militia

 requirements, which mandated that individuals subject to militia duty—typically,

 white men in a specified age range7—must acquire their own arms and


       6
         If the Court were to proceed to the second step, it should uphold the law for
 the reasons set out in the State’s brief. See State Br. 13-18, 22-25. As the State
 explains, the appropriate standard at step two would be intermediate scrutiny and
 Hawai‘i’s law survives such scrutiny. See id. The robust history supporting the
 law, set forth below and in the State’s brief, further supports concluding that
 intermediate scrutiny is the applicable standard. See, e.g., Kachalsky, 701 F.3d at
 96 (“Because our tradition so clearly indicates a substantial role for state regulation
 of the carrying of firearms in public, we conclude that intermediate scrutiny is
 appropriate in this case.”).
       7
         See, e.g., United States Selective Service System, Military Obligation: The
 American Tradition, v. 2, pt. 3, pp. 26-27 (1947) (republishing An Act for
 Establishing the Militia, Del. June 4, 1785) (Delaware’s militia composed of white
 males between 18 and 50 years of age) (App’x p. A6); id. at pt. 4, pp. 144-45
 (republishing An Act for Revising and Amending the Several Militia Laws of this
                                           10
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 ammunition. The laws described the weapons required and provided for regular

 inspection by militia officers.

       Weapons requirements were specific. Connecticut’s 1784 law, for example,

 required “a well fixed Musket, the Barrel not less than three Feet and [a] Half long,

 and a Bayonet fitted thereto, with a Sheath and Belt or Strap for the same, with a

 Ram-rod, Worm, Priming-wire and Brush, [and] one Cartouch-box carrying

 sixteen rounds of Cartridges, made with good Musket Powder and Ball, fitting his

 Gun.”8 A 1776 Massachusetts law required “a good fire-arm, with a steel or iron

 ramrod and a spring to retain the same, a worm, priming-wire and brush, and a

 bayonet fitted to his gun, … and a cutting-sword, or a tomahawk or hatchet, a

 pouch containing a cartridge-box that will hold fifteen rounds of cartridges, at

 least, a hundred buck-shot, a jack-knife, … one pound of powder, [and] forty

 leaden balls.”9 South Carolina law in 1778 required “one good musket and



 State, Ga., Feb. 26, 1784) (Georgia’s militia composed of every free male between
 16 and 50 years of age) (App’x p. A8). The Selective Service System’s
 compilation of early American militia laws is available at
 https://catalog.hathitrust.org/Record/100889778/Home, and the sections cited in
 this brief are compiled in the attached appendix.
       8
       Id. at pt. 2, p. 256 (republishing An Act for Forming, Regulating and
 Conducting the Military Force of this State, Conn., 1784) (App’x p. A4).
       9
         Id. at pt. 6, p. 223 (republishing An Act for Forming and Regulating the
 Militia within the Colony of the Massachusetts Bay, in New England, and for
 Repealing All the Laws Heretofore Made for that Purpose, Jan. 22, 1776) (App’x
 p. A14).

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 bayonet, or a good substantial smooth bore gun and bayonet, … or one good rifle-

 gun and tomahawk or cutlass,” with appropriate ammunition.10

       Militia laws also provided for in-person inspection to ensure that militiamen

 were prepared and properly armed if called up to fight. In particular, they required

 members to attend regular musters (militia assemblies) with their arms and

 ammunition, which officers would inspect. The 1792 federal Militia Acts, for

 example, required “the brigade-inspector to attend the regimental and battalion

 meeting of the militia composing their several brigades, during the time of their

 being under arms, to inspect their arms, ammunition and accoutrements.”11

 Massachusetts required that “every captain … shall call the train-band of his

 company together four days in a year, … for the purpose of examining their arms

 and equipments, and instructing them in military exercises.”12 In Virginia, “every

 militiaman” had to “furnish himself with a good rifle, if to be had,” or certain

 identified alternative weapons, “and appear with the same at the place appointed




       10
          Id. at pt. 13, pp. 67-68 (republishing An Act for the Regulation of the
 Militia of this State; and for Repealing Such Laws as Have Hitherto Been Enacted
 for the Government of the Militia, S.C., Mar. 28, 1778) (App’x pp. A31-A32).
       11
            Act of May 8, 1792, ch. 33, § 10, 1 Stat. 271, 273.
       12
         Military Obligation: The American Tradition at pt. 6, p. 264 (republishing
 An Act for Regulating and Governing the Militia of the Commonwealth of
 Massachusetts, and for Repealing All Laws Heretofore Made for that Purpose,
 1789) (App’x p. A17).

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 for mustering.”13 And in Connecticut, commanding officers had to “cause the arms

 and ammunition of all under his command … to be reviewed …, by requiring such

 persons to bring forth their arms and ammunition at a certain time and place.”14 If a

 member failed to bring the required firearm, or if it was in defective condition, he

 would be fined.15 Musters where weapons would be inspected occurred regularly—

 for example, twice per year in Connecticut and North Carolina;16 three times per




       13
          Id. at pt. 14, p. 274 (republishing An Ordinance for Raising and
 Embodying a Sufficient Force, for the Defense and Protection of this Colony, Va.,
 July 17, 1775) (App’x p. A35).
       14
          Id. at pt. 2, pp. 201-02 (republishing An Act in Further Addition to an Act
 Entitled An Act for the Forming and Regulating of the Militia and for the
 Encouragement of Military Skill for the Better Defence of this Colony, Conn., Oct.
 11-25, 1775) (App’x pp. A1-A2).
       15
          Id., p. 202 (“[I]f any of the persons aforesaid shall … be deficient in arms
 or ammunition, such persons respectively shall pay the same fine … for deficiency
 of arms or ammunition[.]”) (App’x p. A2); see also, e.g., id. at pt. 4, p. 146
 (republishing An Act for Revising and Amending the Several Militia Laws of this
 State, Ga., Feb. 26, 1784) (any member who “shall neglect or refuse to appear
 comple[te]ly armed and furnished with one rifle musket, fowling-piece or fusee fit
 for action, … at any general musters” shall be fined up to five shillings) (App’x p.
 A10); id. at pt. 13, p. 103 (reprinting An Act for the Regulation of the Militia of this
 State, S.C., Mar. 26, 1784) (any person summoned to muster who “shall wilfully
 neglect to turn out at a regimental muster, properly armed and accoutred,” shall be
 fined up to four dollars) (App’x p. A33).
       16
          Id. at pt. 2, pp. 201-02 (republishing An Act in Further Addition to An Act
 Entitled An Act for the Forming and Regulating of the Militia and for the
 Encouragement of Military Skill for the Better Defence of this Colony, Conn., Oct.
 11-25, 1775) (App’x pp. A1-A2); id. at pt. 10, p. 51 (republishing An Act to
 Establish a Militia for the Security and Defence of this Province, N.C., Mar. 2,
 1774) (App’x p. A24).

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 year in Rhode Island;17 four times per year in New Jersey;18 and between four and

 six times per year in Massachusetts.19 Some states also required officers to visit

 militia members’ homes to inspect their weapons.20

       In a number of states and under federal law, furthermore, not only were

 militia members’ firearms inspected, they were also recorded in a register.

 Massachusetts’s 1776 law, for example, provided that “the clerk of each and every

 company of said militia shall, once every six months …, take an exact list of his

 company, and of each man’s equipments.”21 Maryland’s 1756 law required militia

 officers to “make d[i]ligent Search and Enquiry” in their districts and to report


       17
          Id. at pt. 12, pp. 227-230 (republishing An Act to Organize the Militia of
 this State, R.I., 1798) (App’x pp. A26-A29).
       18
          Id. at pt. 8, pp. 70-71 (republishing An Act for the Regulating, Training,
 and Arraying of the Militia, and for providing more effectually for the Defence and
 Security of the State, N.J., Jan. 8, 1781) (App’x pp. A21-A22).
       19
          Id. at pt. 6, p. 264 (republishing An Act for Regulating and Governing the
 Militia of the Commonwealth of Massachusetts, and for Repealing All Laws
 Heretofore Made for that Purpose, 1789) (App’x p. A17).
       20
          Id. at pt. 8, p. 70 (republishing An Act for the Regulating, Training, and
 Arraying of the Militia, and for providing more effectually for the Defence and
 Security of the State, N.J., Jan. 8, 1781) (requiring captains to order sergeants, once
 every four months, “to call at the Place of Abode of each Person enrolled as
 aforesaid, for the Purpose of examining the State of his Arms, Accoutrements, and
 Ammunition, of which the Sergeant shall make exact Report to the Officer issuing
 the Orders”) (App’x p. A21).
       21
          Id. at pt. 6, p. 224 (republishing An Act for Forming and Regulating the
 Militia within the Colony of the Massachusetts Bay, in New England, and for
 Repealing All the Laws Heretofore Made for that Purpose, Jan. 22, 1776) (App’x
 p. A15).

                                           14
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 “what Number of Arms and what Quantity of Ammunition they … discover and

 the Condition and kind of such Arms and Ammunition and who shall be possessed

 thereof distinctly in Writing,” and it required “all and every Person” to produce

 their arms and ammunition on demand for this recording, on penalty of a five

 pound fine.22 New Hampshire’s 1776 law required the clerk of each militia

 company, once every six months, to “take an exact List of his Company, and of

 each Man’s Equipments respectively, and present the same to the Captain or

 commanding Officer thereof.”23 Virginia’s 1784 law required commanding officers

 to send a list of militia members to the Governor, including an account of

 members’ weapons and their condition.24 New Jersey had a similar requirement.25

 And the federal Militia Acts required the brigade inspector “to make returns … at




       22
         Id. at pt. 5, p. 85 (republishing An Act for Regulating the Militia of the
 Province of Maryland, May 22, 1756) (App’x p. A12).
       23
          Id. at pt. 7, p. 83 (republishing An Act for Forming and Regulating the
 Militia within the State of New Hampshire in New England, and for Repealing all
 the Laws Heretofore Made for that Purpose, Sept. 19, 1776) (App’x p. A19).
       24
         Id. at pt. 14, pp. 426-27 (republishing An Act for Amending the Several
 Laws for Regulating and Disciplining the Militia, and Guarding Against Invasions
 and Insurrections, Va., Oct. 18, 1784) (App’x pp. A37-A38).
       25
          Id. at pt. 8, pp. 70-71 (republishing An Act for the Regulating, Training,
 and Arraying of the Militia, and for providing more effectually for the Defence and
 Security of the State, N.J., Jan. 8, 1781) (requiring sergeants to inspect arms in
 members’ homes and make “exact report” to commanding officer, who must in
 turn “make a Return of … his Company, and a State of their Arms, Accoutrements
 and Ammunition” to superiors) (App’x pp. A21-A22).

                                           15
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 least once in every year, of the militia of the brigade to which he belongs, reporting

 therein the actual situation of the arms, accoutrement, and ammunition, of the

 several corps.”26

        “Constitutional rights are enshrined with the scope they were understood to

 have when the people adopted them[.]” Heller, 554 U.S. at 634-35. The ubiquity of

 these militia inspection laws means that ordinary citizens in the founding era

 would have understood a requirement to present arms for inspection to be well

 within the government’s power—and thus outside the scope of the Second

 Amendment. See United States v. Marzzarella, 614 F.3d 85, 91 (3d Cir. 2010) (“If

 the Second Amendment codified a pre-existing right to bear arms [as Heller

 announced], it codified the pre-ratification understanding of that right ….

 Therefore, if the right to bear arms as commonly understood at the time of

 ratification did not bar [a certain set of restrictions or limitations], it follows that by

 constitutionalizing this understanding, the Second Amendment carved out these

 limitations from the right.”).27



        26
           Act of May 8, 1792, ch. 33, § 10, 1 Stat. 271, 273; see also A. Winkler,
 The Secret History of Guns, The Atlantic (Sept. 2011), available at
 https://bit.ly/3l6n0fE (“A 1792 federal law mandated every eligible man to
 purchase a military-style gun and ammunition for his service in the citizen militia.
 Such men had to report for frequent musters—where their guns would be inspected
 and, yes, registered on public rolls.”).
        27
           To be sure, not every gun owner would have been required to join the
 militia, and thus required personally to maintain and present the specified arms for
                                             16
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       B.     In-Person Inspection and Registration Under Hawai‘i Law Sits
              Firmly Within This Longstanding Historical Tradition.
       The historical tradition of requiring in-person inspection of firearms

 provides a robust historical basis for Hawai‘i’s law. Just as militia officers would

 inspect (and frequently record) members’ personal weapons to ensure that they

 comported with militia weaponry requirements, Hawai‘i’s law requires police

 officers to inspect and register guns in-person to verify that they comport with the

 information provided in the registration form. In fact, by mandating regular and

 repeated in-person firearm inspections, these historical laws imposed a much

 greater burden on militia-eligible gun owners than would such a comparatively

 modest one-time check.

       Plaintiffs have raised two challenges to this evidence. First, they argue that

 this Court should ignore founding-era militia laws because “Heller already rejected

 a militia-centric view of the Second Amendment.” Pl. Resp., Dkt. 70-1, at 1. That


 inspection, given that states typically confined the militia to white men in a
 specified age range. But most guns in the founding era were owned by white adult
 men. See generally Winkler, supra note 26 (explaining that founding-era
 authorities disarmed many groups and, “[f]or those men who were allowed to own
 guns,” mandated purchase, inspection, and registration as part of militia duty); J.
 Lindgren & J. Heather, Counting Guns in Early America, 43 Wm. & Mary L. Rev.
 1777, 1871 (2002) (finding 4.4 times greater likelihood of male than female gun
 ownership in Virginia and Maryland probate estates, 1740-1810). And the
 Supreme Court has never suggested—nor would it make any sense to require—that
 a law had to be universally applicable in the founding era before a court can
 conclude that ordinary citizens in that era would have considered it to be within the
 government’s powers.

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 does not follow. Heller held that the Second Amendment enshrined an individual

 right, as opposed to a right connected to militia service. See, e.g., 554 U.S. at 616.

 But that does not mean that government powers under early militia laws have no

 bearing on the proper understanding of the scope of the Second Amendment.

 Indeed, Heller itself relied on militia laws in defending its view of the Second

 Amendment. See, e.g., 554 U.S. at 590 (Pennsylvania Militia Act of 1757).

       Second, plaintiffs argue that founding-era militia laws are inapposite

 “because they deal with laws for the inspection of firearms required for military

 duty,” firearms that “were already owned,” as opposed to inspections “for private

 use” of firearms “prior to being owned.” Pl. Resp., Dkt. 70-1, at 1. But plaintiffs

 make no effort to explain why these distinctions should make any difference, and

 they do not. To be sure, Hawai‘i’s challenged gun inspection law exists in a

 different context than the historical laws discussed above—as part of a background

 check and registration process, rather than as part of ensuring a functional state

 militia. But, as explained above (at 5-7), a law need not precisely match a set of

 founding-era regulations to be part of a longstanding historical tradition. Moreover,

 a central function of Hawai‘i’s law and the historical laws is the same: to ensure

 that the gun an individual possesses matches the applicable specifications—of the

 registration in Hawai‘i’s case and of the militia laws in the historical cases. See

 Response to Interrogatory No. 6, Dkt. 55-2 at 6-7 (“In-person handgun


                                           18
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 registrations can prevent fraud and reduce or eliminate discrepancies.”); State Br.

 23-24 (“[The] government[’s] objective in requiring people to bring the firearm to

 the registration is that it ensures that the registration information is accurate, it

 ensures that the firearm complies with Hawaii law, and it confirms the identity of

 the firearm so as to facilitate tracing by law enforcement.”); see generally Heller v.

 District of Columbia, 801 F.3d 264, 285 (D.C. Cir. 2015) (Henderson, J.,

 concurring in part and dissenting in part) (in-person inspection and registration

 process is needed to “verify that the application information is correct” (internal

 quotation marks and citations omitted)). In other words, in each case, the

 requirements exist to ensure that people own the specific firearm they are supposed

 to. Such a requirement was understood to be permissible in 1791, and thus it does

 not implicate a Second Amendment right today.

 V.     CONCLUSION
        This Court should enter summary judgment in favor of the State and against

 the plaintiffs.

        DATED: Honolulu, Hawai‘i, _______________, 2021.


                                                  PAMELA W. BUNN

                                                  Attorney for Amicus Curiae
                                                  EVERYTOWN FOR GUN SAFETY




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            Appendix of Excerpts of Early American Militia Laws
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                         WILLIAM LIVINGSTON,                                                                       Eſquire,               Governor.                          169


                  Members of the Legiſlative-Council and General Aſſembly, the Judges
                  and Juſtices of the Supreme and Inferior Courts, the Judge of the Court
                  of Admiralty, the Attorney-General, the Secretary, the Treaſurer, the
                  Auditor of Accounts, the Clerks of the Council and General Aſſembly,
                  the Clerks of the Courts of Record, the Governor's private Secretary,
                  the Superintendant of Purchaſes, the County Contračtors, Poſtmaſters,
                  Miniſters of the Goſpel of every Denomination, the Preſident, the Pro
                  feſſors and Tutors of Colleges, Sheriffs, Coroners, one Conſtable for each
                  Townſhip, to be determined by the Court of Quarter-Seſſions of the
                  County, two Ferrymen for each publick Ferry on the Delaware below
                  the Falls at Trenton, and one for every other publick Ferry in this State,
                  Slaves, and every Perſon exempted by any particular Law of this State,
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                                         Muſket, and One Shilling for Want                       Neglect.




                                                                                                                                 of




                                                                                                                                                           be of
                                                                                  any other
                                                of




                   pence for Want
                                                     a




                   the aforeſaid Articles, whenever called out     Training     Service;




                                                                                                                             or
                                                                                                         to




                                                                                                                                                      to
                                                                         PR ov1DED ALways, Proviſo.
                                                                be as




                   recovered and applied      herein after   direéted.
                                                                                            as is




                   That       any Perſon        furniſhed     aforeſaid with       good Rifle
                                if




                                                                                                                                 a
                   Gun, the Apparatus neceſſary for the ſame, and         Tomahawk,        ſhall




                                                                                                                                                it
                                                                                                                    a
                    be




                                                           of




                       accepted     Lieu    the Muſket and the Bayonet and other Articles
                                           in




                   belonging thereto.

                                          ENACTED, That each Perſon enrolled
                                           BE




                                                                                           aforeſaid, Ammunition
                                                IT




                       12. AND                                                                                                            as




                                                                                                                                                                        be
                                                                                                            keptby




                                                                                                                                                                   to
                                                                                                                       of




                   ſhall alſo keep                                               good merchantable
                                                                            of




                                         his Place      Abode one Pound
                                                at




                                                                                                      each Man.
                   Gunpowder, and three Pounds                                            Rifle, and
                                                                                 of




                                                            Ball fized     his Muſket
                                                                                                                                          or
                                                                                                              to




                                                                     Three Shillings,
                                                                                                                                           be
                                      of




                                                                                                 of




                   for Want       either ſhall forfeit the Sum
                                                                                                                                     to




                                                                                           recovered
                                                                                                      Proviſo.
                   and applied                                      Prov IDED ALw AYs, That
                                                                                                                                                           if
                                           as




                                      herein after     directed.
                                                                        is




                                                                                              by




                   any Perſon enrolled        aforeſaid ſhall,         Majority     the commiſſion
                                                           as




                                                                                                                            of
                                                                                                     a




                                     the Company
                    ed




                                                                                                    he




                                                                                                                                  be




                                                                      may belong,
                                          of




                       Officers                           which                         deemed and
                                                                             to




                   adjudged unable         purchaſe the Arms, Accoutrements, and Ammuniti
                                                     to




                                                       exempted from the Forfeiture for any De
                    on




                                                          he



                                                                        be




                        above ſpecified,     ſhall
                   ficiency therein until                                they are provided for him.
                                                               he




                                                                                                         or




                                                can procure them,

                                                                                                                                                                   Sergeants
                                                                                                   Com examine and
                                           BE

                                                 of IT




                                                          FURTHER ENAct ED, That the Captain
                                                                                                                                                                               to



                     13. AND
                                                                                                                                                or




                   manding Officer                        each Company ſhall, once every four Months, or report State
                                                                                                               of in




                                                                                                                                                                        Arms, &c.
                                                                                                                                                                   of
                                                                                            of




                                                                                                                                                            as




                          Sergeant     call               Abode     each Perſon enrolled
                                                 to



                                                                 at




                   der                        the Place
                            a




                   aforeſaid, for the Purpoſe    examining the State     his Arms, Accou
                                                                                                                        of
                                                                        of




                   trements, and Ammunition,       which the Sergeant ſhall make exact Re
                                                                             of




                   port    the Officer iſſuing the Orders, and      the Captain ſhall negle&t his
                            to




                                                                                                     if




                   Duty herein       ſhall forfeit Six Pounds; and         any Sergeant ſhall ne Penalty for
                                            he




                                                                                                               if




                                                                                                   Neglect.
                   gle&t his Duty
                                                                                 he




                                       this Reſpect     ſhall forfeit and pay for each Offence
                                                in




                                                                             he he be
                                     of




                                                                                                                             of as




                   the Sum     Three Pounds,          recovered and applied
                                                                        to




                                                                                   herein after
                                                                                                                                                            is




                   directed; and for this Service      ſhall receive the Sum       Three Shillings Wages for
                                                                                                   this Service.
                   and Nine-pence for each Day                  neceſſarily engaged therein,
                                                                                              be




                                                      ſhall
                                                                                                                                                            to
                                     by




                                                  the Regiment,          Order from the Captain
                    or be




                                                                                                         on
                                                                                                               an




                      paid
                                                                    of of




                               the Treaſurer
                      Commanding Officer         the Company, certifying the Number          Days
                                                                                                                                                 of




                                           the Duty, the Treaſurer taking the Sergeant's Re
                                                      of on




                   the Sergeant was
                                on




                    ceipt            the Back              the Order for the ſame.
                                                                                        Z




                                                                                                                                           14. AND
                                                                                        z




        70




                                                                                                                                                                                    A21
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          17o       A CTS               PAssed                  V.   INDEPENDENCE,                                                A. D. 1781.

          Days of muſ
                             14. AND BE IT FURTHER ENACTED, That each Company ſhall aſ
          tº ring in
          Companies.      ſemble, properly armed and accoutred, not later than ten o’Clock in the
                          Forenoon of the firſt Monday in the Months of April and September every
                          Year, at ſuch Place as the Commanding Officer of the Company ſhall
                          appoint, and there ſpend the Remainder of the Day in Training and Ex
          Penalty in      erciſe, and that the Penalty in caſe of Abſence ſhall be as follows: On
          caſe of Ab
          ſcucc.          a Captain, Three Pounds; on a Lieutenant or Enſign, Forty Shilling; ;
                          on a Non-commiſſioned Officer or Private, any Sum not under Five
                          Shillings nor more than 1%rty Shillings ; and in due Proportion for at
                          tending later than the Hour above limited.




                                                                                            cºr
          Days of Re
                            15. AND BE IT FURTHER ENA                                                    Bat




                                                                                                                                                          or
                                                                      ED, That each Regiment
          gimental
                        talion ſhall aſſemble, properly armed and accoutred, twice                      Year,




                                                                                                                                                     in
          Muſlers.




                                                                                                                                                          a
                        videſicet, On the firſt Monday          June and November,          ſuch Hour and

                                                                                in




                                                                                                                                  at
                                  the Field Officers,        Majority       them, ſhall appoint, for the




                                                                                                       of
                                                                           or
                                   as




                        Place
                                                                                a
                                       Training and Exerciſe; and the Colonel                 Commanding
                                         of




                        Purpoſe




                                                                                                                                       or
                        Officer, after parading his Regiment            Battalion, ſhall require from the

                                                                                              or
                        Captain       Commanding Officer           each Company                     the com




                                                                                                                                                of
          Returns of
                                                                                       of
                                                                                       Return
                                        or




                                                                                                                            a
          Cornramiesto
                                                                                              his Company,




                                                                                                                                      of
          be requircd   miſſioned and Non-commiſſioned Officers and Privates
          and 1...ade.
                                            their Arms, Accoutrements,
                                                   of




                                                                              and Ammunition




                                                                                                                                                                   if
                        and      State                                                                 and




                                                                                                                                                     ;
                               a




                        the Captain        Commanding Officers           Companics ſhall negle&t           re




                                                                                                                                                              or
                                                                                                  of
                                                  or




          For ſcitures. fuſe     make ſuch Return, they ſhall forfeit for each Neglect                Refuſal




                                                                                                                                                 on or
                               to




                                       Six Pound;    and the Penalty                                 the Day
                                         of




                                                                                                                            of
                                                                                                       be in



                        the Sum                                             caſe       Abſence
                                                                 ;




                            Regimental Training




                                                                                                                                                                   or
                          of




                                                        Review ſhall           follows: On        Colonel
                                                                      or




                                                                                                               as




                                                                                                                                            a
                        Lieutenant-Colonel Commandant, Ten Poind; on Lieutenant-Colonel,
                                                                                                                ;

                                                                                                                            a


                        Eight Pound;              Major, Six Pound:            Captain       Adjutant, Five
                                                           on




                                                                                                         or on




                                                                                                                                      or
                                                  ;




                                                                                                  ;
                                                            a




                                                                                                               a




                        Pound;            Lieutenant, Quartermaſter,          Enſign, Three Pound;
                                             on




                                                                                                           on
                                   ;




                                                                                                                                                              ;
                                                  a




                        Non-commiſſioned Officers and Privates, any Sum not leſs than Ten Shil
                        ſings nor more than Three Pound;                   due Proportion for attending
                                                                                                   in




                                                                    and
                                                                                        ;




                                                              the Order for Mecting
                                                                                                                                                be


                        later than the Hour ſpecified
                                                                                in




                                                                                                                                       to



                                                                                                   recovered
                                                                                                                                  ;
                                                                                                         PR




          Proviſo.      and applied                                         ovIDED        Lw Ys, That
                                                                                                                                                                   if
                                                  as




                                           herein after    directed.
                                                                           is




                                                                                                                                 A


                                                                                                                                            A




                                                   the Companies compoſing any Regiment                  Bat
                                                                                                                                                          or
                                                                of




                        the local Situation
                                    be



                                                       as




                        talion                may render                           aſſemble the Whole
                                                                                                                     to




                                                                                                                                                                   at
                                    ſuch                       inconvenient
                                                                                it




                                                                                                               be




                        the ſame Time and Place,          ſhall and may         lawful for the Field-Offi
                                                                          it




                                    Majority                                                   Battalion by
                                                                of




                                                                                                                                       or




                        cers,                     them,     aſſemble ſuch Regiment
                                  or




                                                                               to
                               at a




                        Parts,     different Times, and        different Places, cach Part being aſſem
                                                                                in




                        bled twice in a Year.


                                                 FURTHER EN Act ED, That the Colonel
                                                                                                                                            or
                                                       IT




          Returns of         16. AND BE                                                         Command
          Regimentsto
                          ing Officer      each Regiment                                            his Re
                                              of




                                                                                                                                                     of




                                                                Battalion ſhall make Returns
                                                                                 or




          be made and
                                                                         their Arms, Accoutrements and
                                                                                              of




          when, and       giment       Battalion, and      the State
                                                                      of
                                        or




          Penaltics for
                          Ammunition,                             July and December, yearly, and every
                                                                                    of




                                               the Months
                                                       in




          Neglect.
                          Year,     the Brigadier       Commanding Officer
                                                                                                                       of of
                                                                     or




                                                                                    the Brigade      which
                                   to




                                                                                                                                                     to




                          ſuch Regiment may belong, under the Penalty                Twenty Pounds, and
                                                        the ſaid Months,                    the Magazines
                                                                                                           of




                          Ihall alſo make Return
                                                                     in




                                                                                                                                      of




                                                                               the State
                             Arms, Accoutrements and Ammunition belonging                  his Regiment
                          of




                                                                                                                                                                   or
                                                                                                                                  to




                          Battalion,                       the Magazine          Commiſſary        Military
                                                                                                                                                of




                                           the Keeper
                                                                          of




                                                                                                               or
                                              to




                                      the State for the Time being, under the Penalty               Twenty
                                    of




                                                                                                                                                 of




                          Stores
          Of Brigades. Pound;       and the Brigadier        Commanding Oſlicer          each Brigade ſhall
                                                                                                                                 of
                                                                           or




                                                                                                                                                                  ja
                                    ;




                                                              the Major-General,
                                                                                                                                                           of




                                              his Brigade
                                                      of




                           make Return                                                  the Months
                                                                                                                             in
                                                                               to




          Of theWhole nuary and Auguſ!, every Year, under the Penalty                 Twenty-five Pounds;
                                                                                                                            of




          of the Militia.
                           and the Major-General ſhall make Returns                the Governor      Com
                                                                                                                                                      or
                                                                                                                    of to




                                        Chief     the State,     the Months       February and September,
                                        in




                                                                                    of in
                                                            of




                           mander
                           every Year, under the Penalty           Fifty Pounds for each Default: Which
                                                                                                                                                     ſeveral




                                                                                                                                                                        71




                                                                                                                                                                             A22
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                                                                              A23
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                                                                              A24
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                                                                                        See in general and
                                                                                        especially original
                                                                    - - - --            pp. 422, 423, 430,




                                                                                 ...
        -
        423                                                    Miłitta.                 and following



                            Court proper       try the ſame    one moiety




                                                      to




                                                                                         ;
                                                     the perſon who ſhall




                                                                   of
                                            to
                            thereof     the uſe
                                                       other moiety




                                                                                                            to
                            ſue for the  ſame, and the                and
                            for the uſe of the State.
                                         And           further enabted, That




                                                          be
                              Sec.



                                            2.




                                                                   it
                                           the duty



                                              be




                                                                          of
        ^+----proſe.           ſhall                         the officers from
                          it
        *****                                                    penalties may




                                                                                   or
                           whop) any fines, forfeitures
                                                   detained,




                                                        or




                                                                                          to
                               withholden                            colle&t the
                          ;




                                                            law,           proſe




                                                                          of




                                                                                                       to
                                      the due courſe              and
                                       in
                           fainc
                           cute for the breaches of                       manner




                                                                                                in
                                                          this  ačt
                           aforeſaid.
                                                        further enaëted, That
                                                              be
                              Sec.        And
                                            3.




                                                                   it

        “
                                                      of
                           every Juſtice         the Peace and Warden ſhall
                      ...




             -

                ..."...
                              ºn,




                               ually,       the May ſeſſion




                                                                                        of
                                                                    the General
                                                 at
      º ;
        :




                ºgral Aſſembly, make return                 the General-Trea
                                                                          to
                                                         he




                           ſurer whether            hath colle&ted any fines
                                                  during   the laſt year, and
                                    to




                           due       the State
                                        time,  and the amount and circum
                                 til




                                  that
                          u




                                                                                       to by

                                        ſuch fines,     any,     him collected,
                                            of




                           ſtances
                                                                   if




                           and ſhall   pay   over the ſame        the General

        ***    negea, ren. Treaſurer                       any  Juſtice       the
                                                                                                            of
            on




                                                                    if




                                           and that
                                              ;




                                        Warden ſhall neglect            make re
                                                                                               to to
                                         or




                           Peace
                                                     ſhall neglečl       pay over
                                                              or




                                     aforeſaid,
                                       as




                           turn
                                                                          ineligi
                                                                                                    be
                                              by




                                                                                 he




                           the fines      him   colle&ted,      ſhall



                                                                                                         I
                                                                        of




                                                          Juſtice
                                                                                               of




                                                                        the Peace
                                    to




                           ble     the ſaid office
                            or Warden.
                                                                                               of




                            An Aći               organize the Militia                               this State,
                                            to




        1718.
                                                              by




        ::::: Pre-
                                                                                                            of




                                         HEREAS                     the        Conſtitution                      the

        :::::::. power United  States, the Congreſs have
                           provide for organizing, arming
                                            to




        #.                  and diſciplining the militia, and for govern
        .#
                                                                                               be




                                                                employed
                                                      of of




                            ing ſuch part              may
                                                                          as




                                             them
        #.                     the ſervice   the United States     reſerv
                            in




                                                                                                    ;




                            ing             the States reſpectively the appoint:
                                    to




        1758.
                                                                                                                  of




                                              the officers, and the authority
                                         of




        1767.               ment
                            training the militia according                                                  diſci
                                                                                               to




                                                                                                    the
        1774.                                                                                                pline

                                                                            Wilkinson, 1798; Act,
                            R.




                                                                                               &




                   465.       I.-General Assembly; Pub. Laws, Carter
                     reenacted Jan.  1798 with marginal annotations including 1718, 1736, 1740,
                     1744, 1745, 1754, 1755, 1756, 1758,                1767, 1774, pp. 422-442.
                                                                                                                       215




                                                                                                                             A25
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         434                                      Militia.

                           it ſhall be the duty of the Commanding Of.
                           ficer of every company to make a return of
                           the ſame to the Commandants of their re
                           ſpe&tive regiments, who ſhall make returns
                           of their reſpe&tive regiments to the Briga
                           dier-Generals: And where ſaid companies
                           or regiments are not reſpe&tively attached
                           to any regiment or brigade, returns ſhall be
                           made to the Adjutant-General.       And it
                           ſhall be the  duty of the Brigade-Major   of
                           fuch brigade, to form a brigade return, and
                           tranſmit the ſame to the Adjutant-General,
                           who ſhall, from the ſeveral returns thus
                           made, form a general return, and preſent
                           the ſame to his Excellency the Commander
                           in Chief of the State, and a copy thereof to
                           the Major-General;      and tranſmit another
                           duplicate thereof to the Preſident of the
                           United States ; and that the general return
                           aforeſaid, and the copies thereof, be made,
                             reſented and tranſmitted as aforeſaid, on
                           or before the firſt day of January, annually.
         Times,   &c. of     Sec.   9. And   be    it further   enabled,   That
         training.
                           on the firſt Wedneſday       in April, and on the
                           ſecond Wedneſday in September, in every
                           year, the militia of this State ſhall meet by
                           companies (unleſs the weather on thoſe
                           days ſhall be foul, in which caſe they ſhall
                           meet on the next fair day) for the pur
                           poſe of training, diſciplining and improving
                           them in martial exerciſe; and in the month
                           of O&tober, in every year, in regiment or
                           battalion; and that the places of rendez
                           vouzing by companies be appointed by the
                           Commanding Officers of the reſpe&tive com
                           panies; the places of regimental or bat
                           talion rendezvous, by the Commandants of
                           the regiments reſpe&tively ; and the days of
                                                                   regimentab




                                                                                  227




                                                                                        A26
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                                                                    Militia.                                                 435




                                                                                                                   jº.
                                   regimental or battalion rendezvous, by the
                                  reſpective Brigadiers.
                                     Sec. 10. And be it further enabled, That Orders for muſ.
                                                                                          tering, by whom
                                  it ſhall be the duty of the Brigade-Major
                                  of each brigade, to furniſh a copy of




                                                                                                     of all
                                                                                     or—
                                  ders for muſter                                  regi




                                                               to
                                                         the Commandants
                                  ments within each reſpective brigade; and
                                       the Adjutant




                                  of




                                                                   of
                                                            each regiment        furniſh




                                                                                                to
                                                        all
                                     copy




                                                  of
                                                     orders for muſter from the




                                 a
                                  Commandants thereof,               the Commanding




                                                                                  to
                                                  of
                                  Cfficers       the reſpective companies.
                                     Sec. 11. And               further enailed, That Companies, how




                                                                    be

                                                                         it




                                                                                                                   to
                                                                                     any be warned.




                                                                                                      of
                                  whenever the       Commanding         Officer
                                  company ſhall receive orders from his Bri

                                 #.                                       his regiment,



                                                  or




                                                                                         of
                                               the Commandant
                                      ſhall iſſue his warrant for the aſſembling
                                 of e

                                      his company,         leaſt ten days before the




                                                                   at
                                         appointed    for  muſter,




                                                                                                 or to
                                  time                                direéted       one
                                                                                    offi
                                 or



                                      more non-commiſſioned officer




                                                                                        or by
                                  cers, private         privates,         him ſpecially
                                  appointed, requiring him    or




                                                                                                     to
                                                                         them      warn
                                                  of


                                                 ſaid company, either           general




                                                                                                in
                                 the men
                                                                                      aſ
                                                                    be
                                         diſtrićts,         by him aſſigned,
                                 or




                                                              to




                                                                                                        to
                                        in




                                 ſemble,                              place  appointed
                                                  at




                                                 the time and
                                 therein, equipped according                        And

                                                                                          to
                                                                           law.
                                 the warning officer aforeſaid ſhall warn the
                                                                                   by
                                 men        aforeſaid, either          perſonal notice,
                                             as
                                        by




                                                                                                              of
                                          leaving word          their uſual places
                                 or




                                                                         at




                                 abode, ſix days before, and ſhall return his
                                                                                   of



                                 warrant, with the name                every man


                                                                                                              ſo
                                 warned,                      Commanding        Officer,
                                                   to




                                                  the ſaid
                                                                                   of




                                 one day before the day                 aſſembling,
                                                                                                              as
                                 aforeſaid.
                                     Sec. 13. And              further enaëled, That Poſt
                                                                   be
                                                                        it




                                                                                                  captains

                                       Commanding                                        aud companies.                 of
                                                                                         of




                                 the                      Officers         the ſeveral
                                 companies
                                                        of




                                                    militia       this State ſhall take
                                                                             in




                                                                         their reſpec
                                                                                       of




                                 poſt according
                                                               to




                                                        the dates
                                 tive commiſſions, and that their companies
                                                                                   ſhall




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                                                                                                                             A27
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         436                                               Militia.

                               ſhall take poſt with them in the ſame ſta

         5.
         jºif,
                               tion when on parade.
                                  Sec. 13. And be it further enaited, That

         :* **,
                               when the militia, or any part of them, ſhall
            -                  be aſſembled together for review or train
                               ing, it ſhall be in the power of the Com
                                                                     diſor




                                                                                              all
                               manding Officer preſent to puniſh
                                                        military order and
                                         or




                                                                byin of
                               ders,      breaches
                               diſcipline, whether    non-commiſſioned of
                                         privates,      immediately puttin
                                         or


                               ficers




                                                                                                              at by .#
                               the offender under guard, for       ſpace




                                                                                         a
                               time not exceeding twelve hours,




                                                                                                    or
                               fining him, not exceeding ſix dollars,
                                                                                                            Of
                                                      of


                               the diſcretion     the ſaid Commanding




                                                                                                   by
                               ficer; which fine ſhall                    be
                                                                                certified                   the
                               officer inflicting the ſame,   ſome one Juſ     to
                                      of




                               tice    the Peace, and colle&ted, paid over
                               and appropriated,                   the manner preſcribed
                                                            in




                               by the fifteenth ſe&tion
                                                                           of



                                                                         this act.   And
                                    any commiſſioned

                                                                                                              in
                                                                     officer ſhall behave
                               if




                                 diſorderly     inſolent manner, when the
                                                     or
                               a




                               militia,
                                                                of




                                                                                              be


                                          any part     them, ſhall
                                            or




                                                                   aſſem
                                        aforeſaid, the ſaid officer ſhall be
                                       as




                               bled
                               liable to be arreſted and tried for ſuch be



            i.
                               haviour by     Court-Martial, and      found
                                                                                          if
                                                 a




                                                                                                                  -
                                                     be




                               guilty, ſhall              broken.
                                  Sec. 14. And            further enalted, That
                  for




                                                           be




         fine;
                                                                it




                        non-
                               every non-commiſſioned officer              private,
                                                                                         or




                                                                            firſt le
        -




                                             neglect     appear   (being
                                                            to




                               who ſhall
                               gally warned)        the regimental
                                                                                         or




                                                                         battalion
                                                      at




                               rendezvous, ſhall forfeit two dollars for
                                                ſuch neglett; and every one
                                                 of




                               every day
                               who ſhall neglect         appear (being firſt le
                                                            to




                               gally warned)         the company parade, ſhall
                                                      at




                               forfeit one dollar and fifty cents for every
                 ºir,
            **
                                                                                    he




                                                                                                              be
                                      of




                               day       ſuch negle&t; and
        i.




                                                                      ſhall not
                                                                               if



                                                                                                   in the




                               armed and equipped according
                                                                                          to




                                                                                 ſaid
                                       Congreſs,              appearing,
                                    of




                                                                          ſo




                               aćt                 when                          caſe
                               he




                                   ſhall have reſided      this State ſix
                                                                  in




                                                                                              mºnº          31)




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                                                                   Militia.
                                                                                                                      437

                                 and ſhall not, within ten days after ſuch
                                 rendezvous or parade, produce to the Com
                                 manding Officer of his company a certifi
                                 cate from the Clerk of the Town-Council
                                 of the town, that he had been adjudged by
                                 ſaid Town-Council unable to arm       equip               .#
                                 himſelf, he ſhall, for appearing without a

                                  É.   forfeit twenty-five cents ; without a
                                   ayonet and belt, eight cents ; without a
                                 cartouch-box and cartridges, eight cents ;
                                 without a knapſack, four cents ; and with
                                 out flints, priming-wire and bruſh, four
                                  CentS.




                                                                                                                      hºw

                                                                                                                            “l.
                                      Sec. 15. And be it further ena:led, That Figº,
                                      the expiration                                                             “.


                                                                   of
                                  at                         ten days after ſuch ren-
                                                  parade,    the Commanding Offi



                                                  or
                                  dezvous
                                       of  every    company      ſhall deliver




                                                                                               to
                                  cer                                                ſome


                                                        of
                                  one Juſtice        the Peace, reſiding




                                                                                          in
                                                                                the ſame
                                                                                  the re

                                                              of




                                                                                           of
                                  town,      copy       his warrant, and
                                            a
                                       at a of



                                  turn      the warning officer thereon, together
                                                                            not appear
                                                      of
                                  with liſt        the delinquents,




                                                                                  in
                                  ing                                 parade



                                                                             or
                                                                                    afore




                                                                                           as
                                           the rendezvous
                                  ſaid, and
                                                      in of



                                                    the delinquents,          not being




                                                                                    in
                                  equipped          the articles enumerated




                                                                                                    in
                                                                                       the
                                                                                   the ar
                                                                    of




                                                                                           of
                                     receding ſe&tion          this ačt, and
                                            of




                                  ticles       equipment aforeſaid           which they
                                                                                  of in
                                  ſhall have been deficient, and           ſuch offend
                                                                                 fine, by
                                             of he




                                               ſhall fine,
                                                                    or




                                  ers                          ſhall incur
                                       as




                                               the proviſions                              a
                                                                             of




                                                                                                             or
                                  virtue                               the thirteenth
                                                                        of




                                  eighteenth ſe&tion               this ačt, who ſhall
                                  not have paid their fines
                                                                             to




                                                                     ſaid Commandin
                                   Officer, or ſhall not have rendered
                                                                                               to

                                                                                    him
                                   ſatisfactory excuſe for their delinquencies                               a
                                                                                                             :
                                                                the Peace ſhall, within
                                                                     of




                                   and the ſaid Juſtice
                                                               he




                                   ten  days   after       ſhall have received ſuch
                                   copy and liſt from ſuch Commanding Officer,
                                                                                   to of




                                   iſſue his warrant againſt each            ſuch delin
                                   quents       offenders, dire&ted          the Town
                                                 or




                                  Sergeant or either of the Conſtables of ſaid
                                                                                                         -
                                                                                                    to
                                                                                                    •


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                                                                                                             ły
                                                                                                         W




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